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5
     Attorney for Defendant
     NAVPREET SINGH
6
                             IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,                      )       No. CR-S-10-347 MCE
10
                                                    )
                                                    )
            Plaintiff,                              )       STIPULATION AND ORDER
11
                                                    )       CONTINUING STATUS CONFERNCE
     v.                                             )
12
                                                    )
     DISHAN PERERA et al.,                          )       Date: May 31, 2012
13
                                                    )       Time: 10:00 a.m.
14
                                                    )       Judge: Hon. Morrison C. England, Jr.
            Defendants.                             )
                                                    )
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                                                    )
                                                    )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Todd D. Leras, Assistant United States Attorney, together with counsel for defendant
19
     Dishan Perera, Alan Baum, Esq., counsel for defendant Jeremy Gachago, Michael L. Chastaine,
20
     Esq., counsel for defendant Ramiro Garcia, Christopher R. Cosca, Esq., counsel for defendant
21
     Love Deep Singh Sidhu, Christopher Haydn-Myer, Esq., counsel for defendant Leonard
22
     Woodfork, Olaf W. Hedberg, Esq., counsel for defendant Jason Cavileer, Dan F. Koukol, Esq.,
23
     counsel for defendant Michael Tran, Michael D. Long, Esq., counsel for defendant Navpreet
24

25
     Singh, John R. Manning, Esq., counsel for defendant Imesh Perera, Mark Waecker, Esq., counsel

26   for defendant Navjot Singh, Mark J. Reichel, Esq., and counsel for defendant Torey Moore,

27   Shari Rusk, Esq., that the status conference presently set for April 9, 2012 be continued to May

28   31, 2012, at 10:00 a.m., thus vacating the presently set status conference.



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1           Further, all of the parties, the United States of America and all of the defendants as stated
2    above, hereby agree and stipulate that the interests of justice served by granting this continuance
3    outweigh the best interests of the defendants and the public in a speedy trial and that time under
4    the Speedy Trial Act should be excluded under Title 18, United States Code Section
5    3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Codes T-2 (unusual or complex case)
6    and T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, April
7    5, 2012, to and including May 31, 2012. This is based on the complexity of the case; including
8    voluminous discovery and the fact there are eleven co-defendants. The defense requests more
9    time to review discovery, conduct investigation and engage in negotiations with the government.
10   IT IS SO STIPULATED
11   Dated: April 4, 2012                                 /s/ Alan Baum
                                                          ALAN BAUM
12
                                                          Attorney for Defendant
13                                                        Dishan Perera

14   Dated: April 4, 2012                                 /s/ Michael L. Chastaine
                                                          MICHAEL L. CHASTAINE
15                                                        Attorney for Defendant
                                                          Jeremy Gachago
16
     Dated: April 4, 2012                                 /s/ Christopher R. Cosca
17
                                                          CHRISTOPHER R. COSCA
18                                                        Attorney for Defendant
                                                          Ramiro Garcia
19
     Dated: April 4, 2012                                 /s/ Christopher Haydn-Myer
20                                                        CHRISTOPHER HAYDN-MYER
21
                                                          Attorney for Defendant
                                                          Love Deep Singh Sidhu
22
     Dated: April 4, 2012                                 /s/ Olaf W. Hedberg
23                                                        OLAF W. HEDBERG
                                                          Attorney for Defendant
24                                                        Leonard Woodfork
25   Dated: April 4, 2012                                 /s/ Dan F. Koukol
26
                                                          DAN F. KOUKOL
                                                          Attorney for Defendant
27                                                        Jason Cavileer
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1    Dated: April 4, 2012                      /s/ Michael D. Long
                                               MICHAEL D. LONG
2
                                               Attorney for Defendant
3                                              Michael Tran

4    Dated: April 4, 2012                      /s/ John R. Manning
                                               JOHN R. MANNING
5
                                               Attorney for Defendant
6                                              Navpreet Singh

7    Dated: April 4, 2012                      /s/ Mark Waicker
8
                                               MARK WAECKER
                                               Attorney for Defendant
9                                              Imesh Perera
10   Dated: April 4, 2012                      /s/ Shari Rusk
11
                                               SHARI RUSK
                                               Attorney for Defendant
12                                             Torey Moore
13
     Dated: April 4, 2012                      /s/ Mark J. Reichel
14                                             MARK J. REICHEL
                                               Attorney for Defendant
15                                             Navjot Singh
16

17   Dated: April 5, 2012                      Benjamin B. Wagner
                                               United States Attorney
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                                               by: /s/ Todd D. Leras
20                                             TODD D. LERAS
                                               Assistant United States Attorney
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                                                                  ORDER
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                            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
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     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within
5
     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the
6    failure to grant a continuance in this case would deny defense counsel to this stipulation
7    reasonable time necessary for effective preparation, taking into account the exercise of due
8    diligence. The Court finds that the ends of justice to be served by granting the requested
9    continuance outweigh the best interests of the public and the defendants in a speedy trial.

10
                            The Court orders that the time from the date of the parties' stipulation, April 5, 2012, to
     and including May 31, 2012, shall be excluded from computation of time within which the trial
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     of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
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     3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
13
     prepare). It is further ordered that the April 9, 2012, status conference shall be continued until
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     May 31, 2012, at 10:00 a.m.
15
                            IT IS SO ORDERED.
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17
     April 9, 2012
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                                                               __________________________________
19                                                             MORRISON C. ENGLAND, JR
                                                               UNITED STATES DISTRICT JUDGE
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     DEAC_Signatu re-END:




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